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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                 COLUMBUS DIVISION

 In Re:                                          Case No. 2:17-bk-57670

 Jordan M Patrick
                                                 Chapter 13
 Sarah E Patrick

 Debtors.                                        Judge John E. Hoffman, Jr.

                                    CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Notice of Mortgage Payment Change was served
electronically on August 18, 2020 through the Court’s ECF System on all ECF participants
registered in this case at the e-mail address registered with the Court

And by ordinary U.S. Mail on August 18, 2020 addressed to:

          Jordan M Patrick, Debtor
          P.O. Box 7
          Kingston, OH 45644

          Sarah E Patrick, Debtor
          P.O. Box 7
          Kingston, OH 45644
                                                 Respectfully Submitted,

                                                 /s/ Jon J. Lieberman
                                                 Jon J. Lieberman (0058394)
                                                 Sottile & Barile, Attorneys at Law
                                                 394 Wards Corner Road, Suite 180
                                                 Loveland, OH 45140
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